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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA                        *
                                                 *
        v.                                       *    Criminal No. RDB-19-0144
                                                 *
 CORTEZ WEAVER,                                  *
                                                 *
        a/k/a Corty,                             *
                                                 *
              Defendant.                         *
                                              *******

                                  GOVERNMENT’S REPLY

        In their reply filed yesterday, defense counsel faulted the government for “mak[ing] no
effort” to respond to the argument that adding five years to Weaver’s sentence will not enhance
public safety or deter crime. ECF 159, at 3 & n.7; see also ECF 155, at 32–37. We submit this
reply to clarify our position: this argument is not only wrong, but it is dangerous.

        In support of their position, defense counsel cite a publication by the U.S. Sentencing
Commission for the proposition that “detainees released over the age of 50 have the lowest
reincarceration rate compared to all other violent offenders.” ECF 155, at 32. Remarkably,
however, they omit the Sentencing Commission’s more important conclusion—that violent
offenders recidivate at high rates in every age bracket. The Commission analyzed 10,004 violent
offenders and 15,427 non-violent offenders who were released in calendar year 2005. It found:

       Among violent prior offenders, recidivism rates remained relatively high across age
       groups and do not decline as rapidly as the rates for non-violent offenders. The
       recidivism rates for violent prior offenders released between age 41 and 50 and
       those over 50 is more than double the rate for non-violent offenders in those age
       groups. For offenders age 41 to 50 at release, the recidivism rate is more than
       30 percentage points higher for violent prior offenders (60.8%) compared to
       non-violent offenders (29.8%). Over one-third (37.1%) of violent prior offenders
       released after the age of 50 recidivated—more than twice the rate for non-violent
       offenders released after age 50 (15.2%).

U.S. Sentencing Commission, Recidivism Among Violent Offenders (Jan. 2019), available at
https://www.ussc.gov/sites/default/files/pdf/research-and-publications/research-publications/201
9/20190124_Recidivism_Violence.pdf, at 38 (emphasis added).

       Not only are violent offenders more likely than non-violent offenders to recidivate—even
in the higher age brackets—but they “recidivated for more serious crimes than non-violent
offenders.” Id. at 3. Among the violent offenders who recidivated, the most common new charge
was assault, constituting 28.4%, and for a startling 11.3%, it was homicide, rape, or robbery. Id.
at 13.
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        If Weaver were sentenced to a mere 25 years, he would be released in his late 40s. 1 That
means he would be in the category of offenders with a roughly 61% chance of recidivating. Those
are losing odds. And in the likely scenario in which he does recidivate, there is a nearly 40%
chance that he would commit another violent crime such as assault, homicide, rape, or robbery.
The Court should not be willing to gamble with the public’s safety in this way.

        Defense counsel also rely heavily on research by Daniel Nagin, which is summarized in
various other articles they cite. 2 Nagin arrives at two main conclusions: (1) that certainty of
punishment has a greater deterrent effect than severity of punishment, and (2) that incarceration
may increase the likelihood of future criminal involvement (i.e., because prisons may be schools
for learning to commit crimes, or because defendants are stigmatized upon release). Neither
conclusion is particularly helpful here. The first says nothing about the degree to which severity
of punishment enhances deterrence, only its relative efficacy. The second, Nagin admits, is
tentative. Moreover, it is not the length of the sentence that is associated with increased recidivism,
but the fact of incarceration. 3 Finally, Nagin deals only with specific deterrence (the impact of
incarceration on the specific defendant), not general deterrence (the impact of the threat of
incarceration on the public at large).

       Defense counsel fail to acknowledge the many scholarly articles that have concluded that
longer sentences do have a greater deterrent effect. For instance, renowned economists Daniel

1
        Weaver will get credit for time served since his arrest on March 7, 2019, when he was 27
years old. If he receives the full benefit of good time credit, he will serve only 21.25 years behind
bars, and will be released at age 48. By contrast, if he is sentenced to 30 years, he will be 52 years
old when he is released (assuming maximum good time credit).
2
        For instance, defense counsel grossly misrepresent the National Institute of Justice
publication cited in their brief, which they claim constitutes the Department of Justice’s “own
guidance.” ECF 155, at 34. But the NIJ publication merely summarizes the research of Nagin and
other scholars, and expressly states that “[f]indings and conclusions of the research reported here
are those of the authors and do not necessarily reflect the official position or policies of the U.S.
Department of Justice.” See National Institute of Justice, Five Things About Deterrence (May
2016), available at https://www.ncjrs.gov/pdffiles1/nij/247350.pdf.
3
        Defense counsel misleadingly cite the article by Valerie Wright for the proposition that
“longer sentences have actually been found to increase recidivism.” ECF 155, at 24. Wright
merely cites a study finding that offenders who spent an average of 30 months in prison were 3%
more likely to recidivate than offenders who spent an average of only 12.9 months in prison. See
Valerie Wright, The Sentencing Project, Deterrence in Criminal Justice: Evaluating Certainty
Versus Severity of Punishment (Nov. 2010), at 6. That longer prison sentences were correlated
with a greater rate of recidivism does not mean they caused a greater rate of recidivism. The more
likely explanation—consistent with the U.S. Sentencing Commission data discussed above—is
that the defendants who committed more serious crimes were more likely both to receive longer
sentences and to reoffend. In other words, the factor driving recidivism is the type of offender,
not the length of the sentence.
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Kessler and Steven Levitt determined that sentence enhancements reduce crime by increasing
general deterrence, independent from their incapacitative effect. See Kessler, D. & Levitt, S.,
Using Sentence Enhancements to Distinguish Between Deterrence and Incapacitation, The
Journal        of      Law        &        Economics,       April      1999,       available        at
https://www.jstor.org/stable/10.1086/467428?seq=1#metadata_info_tab_contents.                     The
economists looked at California’s Proposition 8, a popular referendum passed in 1982 that
increased the scope and severity of repeat-offender enhancements for certain types of crime,
including homicide. The authors found that Proposition 8 yielded a 4% decline in crime
attributable to deterrence in the year following its enactment, an 8% decline in the three years after
passage, and a 20% decline within five to seven years. Another criminological study pooled city-
specific results to obtain a combined estimate of the impact of mandatory sentence enhancements
for gun crimes, and found that “the mandatory sentencing laws substantially reduced the number
of homicides.” See McDowall, D., et al., A comparative study of the preventive effects of
mandatory sentencing laws for gun crimes, Journal of Criminal Law and Criminology (1992).

        Indeed, just recently, the U.S. Sentencing Commission published a study concluding that
there is “an inverse relationship between length of incarceration and recidivism for offenders
serving more than 60 months incarceration.” See U.S. Sentencing Commission, Length of
Incarceration          and         Recidivism,       Apr.          2020,         available     at
https://www.ussc.gov/sites/default/files/pdf/research-and-publications/research-publications/202
0/20200429_Recidivism-SentLength.pdf, at 30. Defense counsel ignore these important data-
driven analyses, cherry-picking a few articles and distorting their conclusions.

        There is one thing the defense gets right: violence in Baltimore has skyrocketed in recent
years. See ECF 155, at 35 & n.31. The homicide rate dramatically increased in 2015 after the
death of Freddie Gray, which spawned riots and a crime wave. The city recorded 344 homicides
in 2015, the most in any year since 1993, when the population was 100,000 higher. See The
Baltimore Sun, Deadliest year in Baltimore history ends with 344 homicides, available at
https://www.baltimoresun.com/maryland/baltimore-city/bs-md-ci-deadliest-year-20160101-
story.html. Homicides climbed to 348 in 2019, resulting in the highest per capita murder rate in
Baltimore’s history—roughly 59 per 100,000 people, almost six times the national average. See
The Baltimore Sun, 2019 closes with 348 homicides in Baltimore, second-deadliest year on record,
available at https://www.baltimoresun.com/news/crime/bs-md-ci-cr-2019-homicide-final-count-
20200101-jnauuumukbdh3edsyypspsm3he-story.html; see also The Baltimore Sun, Baltimore
Homicides, available at https://homicides.news.baltimoresun.com/.

       The defense draws exactly the wrong conclusion from this surge in violent crime. They
argue, essentially, this: violence in Baltimore is increasing notwithstanding the imposition of
lengthy sentences; therefore, we should instead give more lenient treatment to violent offenders.
That argument is not only logically unsound, but if accepted, it will have grave consequences.

       First, the defense points to no evidence that criminal sentences have been increasing during
the time period that violent crime has been increasing. To the contrary, the U.S. Sentencing
Commission’s reports published each year reveal that the average length of imprisonment for

                                                  3
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federal crimes in Maryland generally trended downward in the decade prior to the 2019 spike in
homicides—from 96 months in fiscal year 2009 to 65 months in fiscal year 2018 (with some zigs
and zags along the way). See U.S. Sentencing Commission, Federal Sentencing Statistics, 2009
to 2018, available at https://www.ussc.gov/topic/data-reports#0.

        Second, even if it were true that criminal sentences and violent crime were both increasing
during the relevant time period, it would be foolish to assume that the former was causing the
latter. There are myriad other factors that could be, and likely are, driving the recent increase in
crime—such as higher poverty levels, a reduced police force, a lower arrest rate, declining murder
clearance rates, greater mistrust of law enforcement, an intensifying “no-snitch” culture, and
diminished respect for an overburdened state criminal justice system where violent crime cases
too often fall apart when frightened witnesses fail to show up, or are otherwise dismissed at the
eleventh hour.

        Regardless, it should be obvious that the answer to skyrocketing violence is not to start
lopping years off sentences for cold-blooded executions like this one. The answer is to send a
message that, at least in the federal system, enough is enough. The outrage the community feels
is appropriate. Courts will not shy away from holding killers accountable by sending them away
to prison for the majority of their adult lives.

        The defense posits that we cannot “incarcerate our way out of the problem of street-level
gang violence.” ECF 155, at 35. We harbor no illusion that prison alone will cure the pandemic
of violence in the city. But there is no serious Baltimore crime plan that does not recognize that
targeting violent offenders and imposing harsh sentences on the city’s worst trigger-pullers is an
important part of the solution. What we are recommending—holding a repeat violent offender
guilty of first-degree murder accountable with a 30-year sentence—is not in any tension with other
front-end reforms in the areas of education, poverty, and public health. But those solutions are
beyond the scope of this sentencing. Nothing the Court does on Tuesday will fix the ways in which
Weaver was shortchanged as a child. But a 30-year sentence will promote respect for the law and
deter others from engaging in the same criminal activity.

        It may be true that some low-profile cases do little to advance the goal of general deterrence
because the sentence is not publicized, and the community at large never learns about it. That is
not the situation here. The community is watching this case. See Baltimore Sun,
http://www.baltimoresun.com/news/crime/bs-md-ci-cr-cortez-weaver-finney-murder-20190905-
fy2bvym7uzhxzhwzuoymtcpb24-story.html            (reporting       on    Weaver’s      guilty     plea);
https://www.stattorney.org/media-center/press-releases/1555-assailant-in-gas-station-shootout-
faces-a-triple-life-sentence (reporting on Torrence’s conviction). The residents of the Baltimore
Hilton neighborhood are fed up with the violence that has plagued their community. They are
tired of having to worry that they might be struck by stray bullets when they walk to the local gas
station on a sunny summer day. They are outraged by what Weaver did. And a 30-year sentence
is necessary to send the message that the federal courts hear them—and this kind of drug-related
violence will not be tolerated.


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         It is not a coincidence that the Mayor of Baltimore announced his crime reduction plan
during a press conference at the intersection of Baltimore Street and Hilton Avenue, in front of the
very gas          station   where the defendant          murdered      Mitch    Finney.         See
https://foxbaltimore.com/news/city-in-crisis/city-council-president-announces-crime-plan.         In
support of his crime reduction plan, the Mayor explained,

       When we were reducing violence to its lowest levels in the history of Baltimore
       City, we had an approach of focusing on violent offenders and removing those
       people from our neighborhoods. We know it works.

Id. That is precisely what we ask the Court to do here. We ask the Court to remove a violent
criminal—a murderer—from a neighborhood engulfed by bloodshed. We ask the Court to say, on
behalf of the community, “Enough.” We ask the Court to sentence this defendant to 30 years. On
the facts of this case, anything less would be unjust.


                                                  Respectfully submitted,

                                                  Robert K. Hur
                                                  United States Attorney

                                             By: _____/s/_________________
                                                 Christina A. Hoffman
                                                 Peter J. Martinez
                                                 Assistant United States Attorneys
                                                 36 S. Charles St., Fourth Floor
                                                 Baltimore, Maryland 21201




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                              CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that on January 30, 2021, a copy of the foregoing Government’s
Reply was served electronically to the Clerk of the United States District Court using CM/ECF,
and sent via e-mail to:

       Brendan Hurson and Maggie Grace,
       Counsel for the Defendant


                                                       __________/s/____________________
                                                               Christina A. Hoffman




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